
City Chiropractic, P.C., as Assignee of Fatima Powell, Koran McDonald and Charles Henley, Respondent,
againstAuto One Insurance Company, Appellant.




Law Office of Jason Tenenbaum, P.C. (Jason Tenenbaum of counsel), for appellant.
Zara Javakov, Esq., P.C. (Zara Javakov of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Kings County (Ingrid Joseph, J.), entered March 20, 2015. The order denied defendant's motion to sever a cause of action seeking to recover upon a claim for services rendered to Fatima Powell from the remaining causes of action.




ORDERED that the order is affirmed, with $25 costs.
The complaint in this action by a provider to recover assigned first-party no-fault benefits seeks to recover for services that had been rendered to three assignors. Defendant moved, pursuant to CPLR 603, to sever the cause of action seeking to recover upon a claim for services rendered to Fatima Powell from the remaining causes of action, which sought to recover upon claims for services rendered to Koran McDonald and Charles Henley. Defendant's counsel asserted that the causes of action had arisen out of different accidents and that multiple defenses had been interposed in the answer. The Civil Court denied defendant's motion as premature, stating that defendant had failed to establish that the claims involved different questions of fact and law.
For the reasons stated in City Chiropractic, P.C., as Assignee of Victoria A. Lliguichuzhca et al. v Auto One Ins. Co. (__ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2015-1618 K C], decided herewith), the order is affirmed.
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur.
ENTER:Paul KennyChief ClerkMay 18, 2018










